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District Court: N-D- TeX- District Court Docket No. 3309‘CV‘01368'L'BN

Short Case Title: MUFPhY V- DaViS
ONLY ONE COURT REPORTER PER FORM Court Reporter: TOdd AnderSOn

Date Notice of Appeal Filed by Clerk of District Court: NOVembeV 231 2017 Court of Appeals No.:

PART I. (To be completed by party ordering transcript Do not complete this form unless financial arrangements have been made, see
instructions on page 2.)

A. Complete the Follovving:

leo Hearings l:lTranscript is unnecessary for appeal purposes ITranscript is already on file in the Clerk’s Office

OR
Check All of the Following that Apply, Include date of the proceeding
This is to Order a Transcript of the following proceedings: l:]Bail Hearing: EVoir Dire:
- l:lOpening Statement of Plaintiff: l:|Opening Statement of Defendant: _
|:l Closing Argument of Plaintiff: E Closing Argument of Defendant:_'_ _
[|Opinion of court: ' ' EJury Instructions: ESentencing:

H Da s ' Ju

    

Fail`ure to specify in adequate detail those proceedings to be transcribed, or failure to make prompt satisfactory
financial arrangements for transcript, are grounds for DISl\/[ISSAL OF APPEAL.

' B. Th.is is to certify that satisfactory financial arrangements have m_ade. Me'thod of Payment:
|:]Private Funds; ECrimin.al Justice Act Funds (Enter Authorization-24 to USDC eVoucher);
[l()tlier IFP Funds; |:lAdvance Payrnent Waived by reporter; |:|U.S. Government Funds

 

 

 

[:lOther / .
' Sié%`naliul°€ V f Date Transcript Ordered 9/3/15
_ ‘Prim-, blame David H- DOW Phon@; 713-743-2171

 

Connsel for P@\`rl€"< |"|€WV |V|Urphy

v/.\_,~C`!N(_}]g§_g53 4604 Calhc')un Rd., Houston, Texas 77204-6060

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. I"ART I~I. C()URT REPOR_TER ACKNOWLEDGEMENT (To be completed by the Court Reporter and filed With the Court
of Appeals Withi.n 7 days after receipt. Read instructions on page 2 before completing.)

7 ~ ,;; Date Tranecript Order lf arrangements not yet made, date Estimated Completion Date Estirnated number of

_ Received ' contact made W/ ordering party Pages.

 

 

 

 

 

 

 

 

ESatisfactory Arrangements for payment Were made on . , . ,
E| Paymen't'Ar.rangements have NOT been made. Reason: [lDeposit not received []Unable to contact ordering party

EOther (Specify)

 

 

Date:____ 7 Signature of Reporter: Tel.

_ Email of Reporter: Address of Reporter: x
Part III. NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN THE D TRI T CO T ( o be complete-d-by
court reporter on date of filing transcript in the District Court and this completed form e-filed With the Court of Appeals.)

 

This is to certify that the transcript has been completed and filed at the District Court today.
Actual Number of Pages: Actual Number of Volumes:

Date: Signature of Reporter:

 

 

